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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

    In re:                                                              Chapter 11

    FTX TRADING LTD., et al.,1                                          Case No. 22-11068 (JTD)

              Debtors.                                                  (Jointly Administered)




    DECLARATION OF EDGAR W. MOSLEY II IN SUPPORT OF DEBTORS’
 OBJECTION TO MOTION OF THE JOINT PROVISIONAL LIQUIDATORS FOR A
  DETERMINATION THAT THE U.S. DEBTORS’ AUTOMATIC STAY DOES NOT
APPLY TO, OR IN THE ALTERNATIVE FOR RELIEF FROM STAY FOR FILING OF
 THE APPLICATION IN THE SUPREME COURT OF THE COMMONWEALTH OF
 THE BAHAMAS SEEKING RESOLUTION OF NON-US LAW AND OTHER ISSUES

                      I, Edgar W. Mosley II, hereby declare under penalty of perjury as follows:

                      1.       I am a Managing Director at Alvarez & Marsal North America, LLC

(“A&M”), a restructuring advisory services firm specializing in interim management, crisis

management, turnaround consulting, operational due diligence, creditor advisory services, and

financial and operation restructuring. I am over the age of 18 and authorized to submit this

Declaration on behalf of each of the Debtors. 2

                      2.       I have more than 20 years of restructuring and distressed investment

experience across various industries, including oil & gas, manufacturing, transportation,

automotive, retail, industrial construction, telecommunications, healthcare, and consumer



1
             The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
             and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list
             of the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
             complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent
             at https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies
             Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

2
             Terms not defined herein shall have the meaning ascribed to them in the Objection.




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products. I have a Bachelor’s Degree from Harvard University, and have been recognized as a

Certified Insolvency and Restructuring Advisor by the Association of Insolvency and

Restructuring Advisors, where I served on the board from 2019 until 2020.

                  3.   Since joining A&M, I have been involved in numerous Chapter 11

restructurings including Seadrill Limited (2020 and 2017), Valaris plc, Diamond Offshore

Drilling, Inc., Imerys Talc America, White Star Petroleum, Southcross Energy, Magnum Hunter

Resources, Exide Technologies (where I served as the Chief Restructuring Officer), and Visteon

Corporation.

                  4.   On November 9, 2022, the Debtors retained A&M. Since A&M’s retention,

I supervise the team at A&M that works as financial advisor to FTX Trading Ltd. and its affiliated

debtors and debtors-in-possession (collectively, the “Debtors”).        I and the team of A&M

professionals I oversee, have and continue to, among other things, (i) assist the Debtors’ Chief

Financial Officer oversee the Debtors’ finances; (ii) develop a claims portal and a comprehensive

claims filing process; and (iii) identify reliable books and records and to assemble the information

necessary to support the Debtors in their Chapter 11 Cases and the ongoing investigations, and to

provide information to parties in interest and the Court, as appropriate.

                  5.   I submit this declaration (the “Declaration”) in support of Debtors’

Objection to Motion of the Joint Provisional Liquidators for a Determination that the U.S.

Debtors’ Automatic Stay Does Not Apply to, or in the Alternative for Relief from Stay for Filing of

the Application in the Supreme Court of the Commonwealth of The Bahamas Seeking Resolution

of Non-Us Law And Other Issues (“Objection”). I am not being compensated separately for this

testimony other than payments received by A&M as an advisor retained by the Debtors.




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                  6.      Except as otherwise indicated, all facts set forth in this Declaration are based

upon (i) my personal knowledge, information, and belief, or my opinion based upon experience,

knowledge, and information concerning the Debtors; (ii) information learned from my review of

relevant documents and information concerning the Debtors’ operations and financial affairs;

and/or (iii) information obtained from the Debtors and their advisors, including the A&M team

working under my supervision. If I were called upon to testify, I could and would testify

competently to the facts set forth in this Declaration on that basis. I am authorized to submit this

Declaration on behalf of the Debtors.

             A.         The FTX Debtors and FTX DM

                  7.      Alameda Research LLC, one of the Debtors, was founded on November 20,

2017 by Samuel Bankman-Fried and Zixiao “Gary” Wang. Attached hereto as Exhibit A is a true

and correct copy of Alameda’s certificate of formation.

                  8.      FTX Trading Ltd. (also referred to as FTX.com) was founded on April 2,

2019 by Mr. Bankman-Fried, Mr. Wang, and Nishad Singh. Attached hereto as Exhibit B is a true

and correct copy of FTX Trading Ltd.’s certificate of incorporation.

                  9.      West Realm Shires Services, Inc. (d/b/a FTX US) was founded on January

29, 2020 by Messrs. Bankman-Fried, Wang, and Singh. Attached hereto as Exhibit C is a true and

correct copy of West Realm Shires Services, Inc.’s certificate of incorporation.

                  10.     The relationship between customers and the FTX.com trading platform

were governed by the 2019 and then the 2020 Terms of Service. Attached hereto as Exhibit D and

Exhibit E are true and correct copies of 2019 and 2020 Terms of Service, respectively, identified

in the Debtors’ records during the ongoing investigations into the Debtors’ affairs, titled “FTX

Exchange: Terms of Service.”




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                  11.      FTX Digital Markets (“FTX DM”) was incorporated in The Bahamas on

July 22, 2021. Attached hereto as Exhibit F is a true and correct copy of FTX DM’s certificate of

incorporation.

                  12.      Shortly after it was incorporated, FTX DM submitted an Application for

Registration as Digital Asset Business (the “Registration Application”) to the Securities

Commission of The Bahamas (the “Commission”). Attached hereto as Exhibit G is a true and

correct copy of the Registration Application, identified in the Debtors’ records during the ongoing

investigations into the Debtors’ affairs. The Commission subsequently approved FTX DM’s

Registration Application.

                  13.      In May 2022, the Debtors’ records indicate that Mr. Bankman-Fried (and/or

others acting at his direction) introduced new terms of service for FTX.com customers, by posting

them to the FTX.com website. Attached hereto as Exhibit H is a true and correct copy of a

document titled “FTX Terms of Service,” dated May 13, 2022.

             B.         The FTT Transfer to the Commission

                  14.      On the evening of November 12, 2022, the Debtors observed the movement

of primarily a large volume of formerly non-circulating FTT tokens—the native cryptocurrency of

the FTX.com exchange—from a cryptocurrency wallet that the Debtors previously had used to

release additional FTT tokens for circulation.

                  15.      Attached as Exhibit I is a true and correct copy of Slack messages, identified

in the Debtors’ records during the ongoing investigations into the Debtors’ affairs, from Gary

Wang to an internal FTX Slack channel, dated November 13, 2022.

                  16.      Attached hereto as Exhibit J is a true and correct copy of a media release

from the Commission entitled “Securities Commission Statement on Transfer Motion In FTX




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Digital Markets Chapter 15 Proceedings,” dated November 23, 2022, and accessed at

https://www.scb.gov.bs/wp-content/uploads/2022/11/SCB-Issues-Statement-on-Transfer-

Motion.pdf.

                  17.      Attached as Exhibit K is a true and correct copy of a letter from Christina

Rolle to Jean-Louis Van Der Velde, dated November 12, 2022.

                  18.      Attached as Exhibit L is a true and correct copy of an email, identified in

the Debtors’ records during the ongoing investigations into the Debtors’ affairs, from Sam

Bankman-Fried to Christina Rolle and Brian C. Simms KC, dated November 13, 2022.

             C.         The Harm to Debtors and Creditors

                  19.      As of the April 12, 2023 hearing, the Debtors’ estates have in their

possession approximately $7.3 billion in liquid assets, and potentially significantly more in assets

which have yet to be recovered or monetized. Based on a review of FTX DM’s financial records

by the A&M team under my direction, the JPLs, on behalf of FTX DM, currently have in their

control no more than $30 million in liquid assets. This is consistent with the disclosures made by

the JPLs on page 12 of their February 8, 2023 First Interim Report and Accounts (“JPLs’ First

Interim Report”), available at https://www.pwc.com/bs/fdm. I also understand that Debtors have

asserted avoidance claims against the JPLs in the Adversary Complaint pending before this Court

relating to any assets controlled by FTX DM.

                  20.      The Debtors are not aware of any customers of FTX DM who are not also

creditors of FTX Trading or other Debtors. The Debtors’ expectation is that all customers of the

FTX.com exchange who suffered losses will have claims against the Debtors for those losses,

irrespective of any claims against FTX DM.




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                  21.       In my opinion, the Debtors will be prejudiced by the confusion created from

proceedings in the Bahamas Court concerning customer entitlements and the Debtors’ assets at

this critical juncture in the Chapter 11 Cases. The Debtors’ reorganization efforts have already

been impacted by the JPLs’ actions. For example, the JPLs have:

                           Attempted to cloud title to assets that have been marshaled by the Debtors
                            and are available to be distributed to customers and other creditors in a plan
                            of reorganization, including, but not limited to, statements in the JPLs’ First
                            Interim Report referencing allegedly $7.7 billion in transfers “from FTX
                            DM” to FTX Trading or Alameda (JPLs’ First Interim Report at 12, 14, 16),
                            and other similar statements made by the JPLs in hearings and filing
                            submitted to this Court;

                           Interfered with the Debtors’ efforts to negotiate settlements with targets of
                            avoidance actions by filing a position statement in response to a stipulation
                            entered into between Alameda and Voyager Digital, asserting FTX DM
                            may hold the claims and seeking a veto over settlements [see D.I. 819];

                           Announced publicly a claims “portal” and claims resolution procedure that
                            gets ahead of the forthcoming claims bar date and resolution process of the
                            Debtors, creating confusion among stakeholders; and

                           Served and were forced to rescind a notice of default with respect to Debtor
                            FTX Property Holdings Ltd.

                  22.       The Debtors provided the JPLs a copy of their AWS database, which

includes certain customer information, pursuant to the NDA and in furtherance of the Cooperation

Agreement. In addition, I understand that the JPLs sent email letters to customers soliciting

customer information from the Debtors’ customers with customer data. Attached hereto as

Exhibit P is a copy of one such letter I have been provided. I have been made aware of reports of

confusion caused by this outreach. One such example on Twitter, excerpting the letter and noting

confusion, is found in the April 4 tweet from an account with user name @ftxreloaded, accessible

athttps://twitter.com/ftxreloaded/status/1643175954464874497?s=

46&t=AKP-gPzyBPkHcgTOTJPtxg. As of the date of this filing, the Tweet had 4,032 views.




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Attached hereto as Exhibit M are true and correct copy of screenshots of the aforementioned

Tweet.

                  23.    The Debtors will also have a difficult time fully and adequately protecting

their rights in The Bahamas. On March 23, 2023, the Debtors submitted an application for the

special admission of David William Allison KC to the Bahamas Bar Council, which I understand

to be similar to a pro hac vice motion in the United States and allows a foreign citizen to represent

a client in particular proceedings in The Bahamas, which to date has not been granted.

                  24.    On April 27, the Bar Council sent a letter in response to the Debtors’

application. Attached hereto as Exhibit N is a true and correct copy of the letter from Tara

Knowles, Secretary to the Bar Council, to Jason T. Maynard, dated April 27, 2023.

                  25.    Attached as Exhibit O is a true and correct excerpted copy of a transcript

provided to me of a hearing held in In re Voyager Digital Holdings, Inc., Case No. 22-10943

(Bankr. S.D.N.Y) on January 24, 2023.

                  I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge.

                  Executed in Dallas, Texas on May 3, 2023


                                                                  /s/ Edgar W. Mosley II
                                                                  Edgar W. Mosley II




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